

ORDER

PER CURIAM:
AND NOW, this 13th day of March, 2000, upon consideration of the Report and *434Recommendations of the Disciplinary Board dated January 11, 2000, it is hereby
ORDERED that ROBERT CHASE CHEEK, JR., be and he is SUSPENDED from the Bar of this Commonwealth for a period of three (3) years retroactive to July 10, 1997, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Justice CASTILLE dissents.
Justices CAPPY and NIGRO would make the suspension retroactive to November 13,1998.
